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AO 399 (01/09) Waiver of the Service of Summons



                                      UNrrBp SrRrBs Dtsrrucr CoURT
                                                                        for the
                                                                  District of Arizona

           Donnie Varney and Roberta Varnev                                   )   MDL Case No. 2:15-md-2641-DGC
                        Plaintiff                                             )
                                 v                                            )   Civil Action No. 2:1 9-cv-01407-DGC
     C.R. Bard lnc.; Bard Peripheral Vascular, lnc                            )
                            Defendant                                         )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Don McKenna
             (Name of the plaintiff's attorney or unrepresented   plaintffi

        I have received your rcqucst to waive service of a summons in this action along with a copy of the complaint'
two copies of this waiver form, and a prepaid means of retuming one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                03t01t2019              the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment   will be entered against me or the entity I represent.

Date
                                                                                            Signature ofthe attorney or unrepresented party



       Printed name of party waiving service of summons                                                       Printed name




                                                                                                                 Address



                                                                                                             E-mail address


                                                                                                            Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to retum a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses ofservice, unless the defendant shows good cause for the failure.

           "Good cause" does rot include a beliefthat the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

        Ifthe waiver is signed and retumed, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served'
